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  IT IS ORDERED as set forth below:



  Date: November 8, 2018
                                                        _____________________________________
                                                                      Paul Baisier
                                                              U.S. Bankruptcy Court Judge

  _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                   | CASE NUMBER
                                         |
DANA MICHELLE VALORIE CALHOUN, | 18-67543-PMB
                                         |
      Debtor.                            | CHAPTER 13
________________________________________ | _____________________________________

                     ORDER (I) GRANTING DEBTOR’S
              MOTION TO IMPOSE AUTOMATIC STAY AND (II)
     IMPOSING STRICT COMPLIANCE REGARDING MORTGAGE PAYMENTS

         This matter was set for a hearing on November 8, 2018 at 10:30 a.m. (the “Hearing”) on

Debtor’s Motion to Impose Automatic Stay (Docket No. 5)(the “Motion”). The Motion was filed

on October 18, 2018 and this case was filed on October 18, 2018, such that the Motion was filed

within thirty (30) days after the filing of this case. On November 7, 2018, Wells Fargo Bank,

N.A. (“Wells Fargo”) filed a pleading entitled Response of Wells Fargo Bank, N.A. to Debtor’s

Motion to Impose Automatic Stay (Docket No. 12)(the “Response”) in which it opposed

imposition of the automatic stay in this case.
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        Counsel for the Debtor and counsel for Wells Fargo appeared at the Hearing and came to

an agreement regarding Wells Fargo’s assertions raised in the Response.

        There being no opposition to the Motion, and the Debtor having shown that the filing of

the above case is in good faith as to the creditors to be stayed in accordance with 11 U.S.C.

§ 362(c)(4), it is

        ORDERED that the Motion be, and the same hereby is, GRANTED as follows:

        1. The automatic stay of 11 U.S.C. § 362(a) is IMPOSED as to all creditors.

        2. The stay referenced in Paragraph 1 shall remain in effect through the pendency of this

            case until (i) further order of this Court, or (ii) the stay expires or terminates pursuant

            to 11 U.S.C. § 362(c)(1), (c)(2), or (e).

        3. The stay referenced in paragraph 1 may be vacated as to a party in interest if that party

            in interest did not receive notice of the Motion and files a pleading demonstrating the

            lack of service and a basis to oppose the stay referenced in paragraph 1. Upon the filing

            of such pleading, the stay referenced in paragraph 1 may be vacated as to the party in

            interest that was not served with or without further notice or an opportunity for a

            hearing.

        4. The relief granted in this Order does not preclude a creditor from filing a subsequent

            motion for relief from stay as appropriate.

        5. The relief granted in this Order is effective immediately upon entry of this Order, and

            is not subject to any stay.

        6. The Debtor shall pay timely each mortgage payment to Wells Fargo that comes due on

            or after the date of this Order for a period of twenty-four (24) months. If the Debtor


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           fails to make any such mortgage payments timely, Wells Fargo shall be entitled to file

           with the Court a notice of such failure, and the Court may enter and Order terminating

           the stay granted in this Order as to Wells Fargo, or dismissing this case, without further

           notice or a hearing.

        The Clerk is directed to serve a copy of this Order upon Debtor, counsel for the Debtor,

the Chapter 13 Trustee, the United States Trustee, and all parties on the mailing matrix in this

case.

                                    [END OF DOCUMENT]




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